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MOR-1 UNITED STATES BANKRUPTCY COURT

CASE NAME: Watson Valve Services, LLC PETITION DATE: 2/6/2020

CASE NUMBER: 20-30968 DISTRICT OF TEXAS: Southern

PROPOSED PLAN DATE: Unknown DIVISION: Houston
MONTHLY OPERATING REPORT SUMMARY FOR JULY 2020

VENUES (MOR-6) ‘ 303,797.00 , 474,572.89 257,618.
COME BEFORE INT; DEPREC./TAX (MOR-6 -137 ; 188,255.92 . 70,326,92 11,661.17
NET INCOME ( (MOR-6, -137 225,656.23 . 639.47 -136,873.

'AYMENTS TO INSIDERS (MOR-9 662. 31,685.02 : 21,685.94 5,833.
'AYMENTS TO PROFESSIONALS R-9 ; 0.00 : 99,518.85 69,135.
TOTAL DISBURSEMENTS (MOR-7, 573.97 116,426.28 ' 18 04 701

 

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CIRCLE ONE
REQUIRED INSURANCE MAINTAINED Are al! accounts receivable being collected within terms? Yes No
AS OF SIGNATURE DATE EXP. Are all post-petition liabilities, including taxes, being paid within terms? Yes No
DATE Have any pre-petition liabilities been paid? Yes No
CASUALTY YES (x) NO() 11/30/2020 if so, describe
LIABILITY YES (x) NO () 11/30/2020 Are all funds received being deposited into DIP bank accounts? Yes No
VEHICLE YES (x) NO() 11/30/2020 Were any assets disposed of outside the normal course of business? Yes No
WORKER'S YES (x) NO() 11/30/2020 ff so, describe
OTHER YES (x) NO() 11/30/2020 Are afl U.S, Trustee Quarterly Fee Payments current? Yes No
What is the status of your Plan of Reorganization?
ATTORNEY NAME: Matthew Okin I certify under penalty of perjury that the following complete
FIRM NAME: Okin Adams LLP Monthly Operating Report (MOR), consisting of MOR-1 through
ADDRESS: 1113 Vine Street MOR-9 plus attachnients, is true and correct.
Suite 240
CITY, STATE, zIP: Houston, 1X 77002 SIGNED X Kt e O 9 TITLE: TRY STE
TELEPHONE/FAX: 713.228.4100 | 888.885.2118 (ORIGINAL 6iena TURE)

 

Robert Ogle, Trustee . f h
MOR-1 (PRINT NAME OF SIGNATORY) DATE ZB KO Xx Qe 2 6

Reservation of Rights: The Debtor reserves all rights to amend or supplement the MOR in all respects, as may be necessary or appropriate, but shall be under no
obligation to do so. Nothing contained in this MOR shail constitute a waiver of any of the Debtor's rights or an admission with respect to its Chapter 11.

Some regularly recurring journal entries have not been posted as of 06.30.2020; certain accruals have not been recorded based on the timing (due date) for the reports.
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CASE NAME: Watson Valve Services, LLC

 

CASE NUMBER: 20-30968

COMPARATIVE BALANCE SHEETS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSETS FILING DATE* —|MONTH MONTH MONTH MONTH MONTH MONTH
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020

CURRENT ASSETS sae
Cash 949,195.09 909,604.12 1,931,520.63 1,961,031.58 1,766,832.90 1,403,100.34 6,229,637.95
A/R = Other (10% Downpayment Sale) 555,000.00
Accounts Receivable, Net 1,018,319.61 287,292.82 193,241.15 199,192.97 549,568.50 467,876.51
Inventory: Lower of Cost or Market 3,349.00 3,349.00 3,349.00 3,349.00 3,349.00 3,349.00
Prepaid Expenses 134,605.20 134,605.20 134,605.20 134,605.20 134,605.20 112,171.00 48,947.39
Deposits 45,360.00 45,360.00 45,360.00 45,360.00 45,360.00 45,360.00
Investments 0.00 0.00 0.00 0.00 0.00 0.00
Insurance ENI 0.00 0.00 0.00 0.00 0.00 0.00
Other 5,000.00 5,000.00 5,000.00 5,000.00 5,000.00 5,000.00
TOTAL CURRENT ASSETS 2,155,828.90 1,385,211.14 2,313,075.98 2,348,538.75 2,504,715.60 2,036,856.85 6,833,585.34
PROPERTY, PLANT & EQUIP. @ COST 64,645.78 64,645.78 64,645.78 64,645.78 64,645.78 64,645.78
Less Accumulated Depreciation 0.00 0.00 0.00 0.00 0.00 0.00
NET BOOK VALUE OF PP & E 64,645.78 64,645.78 64,645.78 64,645.78 64,645.78 64,645.78 0.00
OTHER ASSETS =

1.

2

3.

4.
TOTAL ASSETS $2,220,474.68 | $1,449,856.92 | $2,377,721.76 $2,413,184.53 | $2,569,361.38 | $2,101,502.63 $6,833,585.34

* Per Schedules and Statement of Affairs
MOR-2 Revised 07/01 98
FN1 Insurance Policy limits totaling $29,000,000 have been removed,
FN2 All of the debtors assets were sold to Mogas pursuant to a 363 sale on July 1 2020.

 

 
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CASE NAME:

Watson Valve Services, LLC
CASE NUMBER; 20-30988

COMPARATIVE BALANCE SHEETS

 

LIABILITIES & OWNER'S

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FILING DATE* MONTH MONTH MONTH MONTH MONTH MONTH
EQUITY Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020
LIABILITIES ‘ : ;
POST-PETITION LIABILITIES(MOR-4) 0.00 0.00 188,363.61 159,487.90 127,322.23 284,709.07 1,991,929.98
PRE-PETITION LIABILITIES : : : 24
Notes Payable - Secured FN2 | FN4 45,500.00 45,500.00 45,500.00 45,500.00 45,500.00 13,159.02 33,179.80
Priority Debt - Unsecured FN4 60,964.61 60,964.61 60,964.61 60,964.61 60,964.61 45,391.83 0.00
Federal Ifcome Tax
Accrued Property Tax 34,449.98
Acerued Margin Tax 38,630.00
FICA/Withholding
Unsecured Debt FN4 896,037.08 883,993.28 $83,993.28 883,993.28 883,993.28 1,132,452.53 606,075.64
Other
TOTAL PRE-PETITION LIABILITIES 1,002,501.69 990,457.89 990,457.89 990,457.89 990,457.89 1,191,003.38 712,335.42
TOTAL LIABILITIES 1,002,501.69 990,457.89 1,178,821.50 1,149,945.79 1,117,780,12 1,475,712.45 2,704,265.40
OWNER'S EQUITY (DEFICIT) 3 =e :
PREFERRED STOCK
COMMON STOCK 1,000.00 1,000.00 1,000.00 1,000.00 1,000.00 1,000.00 1,000.00
ADDITIONAL PAID=IN CAPITAL
RETAINED EARNINGS: Filing Date FN3 1,216,972.99 1,216,972,99 1,216,972.99 1,216,972.99 1,216,972.99 1,216,972.99
RETAINED EARNINGS: Post Filing Date 0.00 = 137,239.75 88,416.48 ~1,203.43 232,436.04 95,562.81 528,682.26
NET INCOME (LOSS) 3,599,637.68
RETAINED EARNINGS: Pre / Post Filing Date Adjustments FNI 0.00 -621,334.21 -107,489.21 46,469.18 1,172.23 -687,745.62 0.00
TOTAL OWNER'S EQUITY (NET WORTH) 1,217,972.99 459,399.03 1.198,900.26 1,263,238.74 1,451,581.26 625,790.18 4,129,3 19.94

 

TOTAL LIABILITIES &
OWNERS EQUITY

 

 

$2,220,474.68

 

$1,449,856.92

 

$2,377,721.76

 

$2,413,184.53

 

$2,569,361.38

 

$2.101,502.63

$6,833.585.34

 

 

MOR-3

* Per Schedules and Statement of Affairs

Revised 07 01:98

 
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FN1 Ongcing operational adjustments
Variances noied herein relate to the following groups;
Group 1 - Initial accounts recevable in first day filings were derved from 01/23/2020 trial balances generated by
Watson Valve Services, Between the 01.23.2020 trial balance and first day filing accounts receivble collections
were not reflected in the financial statements. The financials of the Company were not updated related to loss
of facilities in explosion.

Group 1
(AR collected between 01/23/2020 and 02/06/2020
AMUR HMP, LLC 572,242
Lock Box Deposit 17,689
LIHR Gold Unlimited 25,216

615,147 615,147
Group 2
Items approved in cash collateral not accounted for in first day filings/not accrued,
Group 2
AFCO 10,779
UFG Insurance 1,265

12,044 627,191

Group 3

Accotnts receivable amounts collected per bank statements not included in Company financials
which were prepared on a hybrid cash/accrual basis.

Group 3 60,554
60,554
Total Ail Groups 687,745 687,745
FN2 Secured Debt with Texas Capital Bank totaling $3,000,000 is held by Watson Grinding with only a contingent liability via guarantee by Watson Valve, thus removed here.
FN3 Insurance Policy limits totaling $29,000,000 have been removed.

FN4 Amended to reflect actual claims filed through the bar date.
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CASE NAME: Watson Valve Services, LLC
CASE NUMBER: 20-30968

SCHEDULE OF POST-PETITION LIABILITIES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH MONTH MONTH MONTH MONTH MONTH
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020
TRADE ACCOUNTS PAYABLE 0.00 763.92 72,968.70 35,634.78 136,174.67 425.40
TAX PAYABLE :
Federal Payroll Taxes
State Payroll Taxes
Ad Valorem Taxes
Other Taxes - Federal and State tax accrual from 363 sale 1,050.880.00
TOTAL TAXES PAYABLE 0.00 0.00 0.00 0.00 0.00 1,050,880.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES :
1. McDowell Hetherington LLP _FNI 0.00 63,299.69 63,914.20 68,859.95 131,769.40 172,868.35
2. MACCO Restructuring Group FNI 0.00 124,300,00 22,605.00 22,827.50 16,765.00 204,515.05
3. US Trustee Fees (Unpaid) 0.00 0,00 0.00 0.00 0.00 0.00
4 Chamberlain Hrdlicka _ 0.00 0.00 0.00 0.00 0.00 0.00
5 Statesmen Corporate Finanee LLC 0.00 0.00 0.00 0.00 0.00 383,000.00
6 Okin AdamsLLP 0.00 0.00 0.00 0.00 0.00 180,241.18
TOTAL POST-PETITION LIABILITIES (MOR-3) $0.00 $188,363.61 $159,487.90 $127,322.23 $284,709.07 | $1,991,929.98

*Payment réquirés Court Approval
MOR-4

FN1

Aggregated professional / legal fees beyond retainers

Revised 07.01 98

 

 
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CASE NAME: Watson Valve Services, LLC
CASE NUMBER: 20-30968

AGING OF POST-PETITION LIABILITIES
MONTH July 2020

 

 

1,991,504.58

0,00

425.00

0,00
$1,991,929,58

ACCOUNTS
0.00
0.00
425.00
0.00
$425.00

$0.00

AGING OF ACCOUNTS RECEIVABLE

OTHER TAXES
1,050,880.00

$1,050,880.00

 

940,624.5

940,624.58

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020
0-30 DAYS 0,00 144,190.69 69,420.00 423,482.89 229,909.45
31-60 DAYS 13,717.50 0.00 80,722.51 5,406.00 111,881.45
61-90 DAYS 264,688.32 13,717.50 0.00 71,629.15 5,406.00
91+ DAYS 8,887.00 35,332.96 49,050.46 49,050.46 120,679.61
TOTAL $287,292.82 $193,241.15 $199,192.97 $549,568.50 $467,876.5 | $0.00
MOR-5

Revised 07 0198

 
CASE NAME:

CASE NUMBER:

Case 20-30968 Document 308 Filed in TXSB on 08/20/20 Page 7 of 10

Watson Valve Services, LLC

20-30968

STATEMENT OF INCOME (LOSS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH MONTH MONTH MONTH MONTH MONTH FILING TO
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020 DATE

REVENUES (MOR=1) 0.00 303,797.00 263,966.58 474,572.89 257,618.68 2,841,509.68 4,141,464.83
ITOTAL COST OF REVENUES _ 43,385.44 41,794.10 138,983.91 62,039.67 178,578.91 1,352,701.60 1,817,483.63
IGROSS PROFIT -43,385.44 262,002.90 124,982.67 412,533.22 79,039.77 1,488,808.08 2,323,981.20
|OPERATING EXPENSES: eS an

Selling & Marketing 0.00

General & Administrative 1,479.98 412,44 67,544.33 4,932.36 40,591.83 1,078,212:88 1,193,173.82

Insidérs Compensation 31,662.16 31,665.02 31,665.02 21,665.94 5,833.43 0.00 122,491.57

Payroll & Payroll Taxes 60,640.17 41,405.82 28,778.03 15,500.00 20,833.34 11,791.01 178,948.37

Bank Fees 72:00 263.70 96.00 108.00 120.00 63.90 723.60

Other 0.00
TOTAL OPERATING EXPENSES 93,854.31 73,746.98 128,083.38 42,206.30 67,378.60 1,090,067.79 1,495,337.36
INCOME BEFORE INT, DEPR/TAX (MOR-1) -137,239.75 188,255.92 -3,100.71 370,326.92 11,661.17 398,740.29 828,643.84
INTEREST EXPENSE 0.00
[DEPRECIATION 0.00
lOoTHER (INCOME) EXPENSE* FNI -225,000.00 =3,317,936.89 -3,542,936,89

Professional Fees FN2 0.00 124,300.00 22,605.00 67,827.50 16,765.00 204,515.05 436,012.55

Legal Fees FN2 0.00 63,299.69 63,914.20 68;859.95 131,769.40 353,109.53 680,952.77
OTHER ITEMS*# 0.00
TOTAL INT, DEPR & OTHER ITEMS 0.00 =37,400.31 86,519.20 136,687.45 148,534.40 =2,760,312.31 -2,425,971.57
NET INCOME BEFORE TAXES -137,239.75 225,656.23 -89,619.91 233,639.47 =-136,873.23 3,159,052.60 3,254,615.41
FEDERAL INCOME TAXES 0.00
NET INCOME (LOSS) (MOR-1) ($137,239.75) $225,656.23 ($89,619.91) $233,639.47 ($136,873.23)| $3,159,052.60 $3,254,615.41

 

Accrual Accounting Required, Otherwise Footnote with Explanation.

* Footnote Mandatory.

** Unusual and or infrequent itemfs) outside the ordinary course of business requires footnote.

MOR-6

FN1
FN2

Gain on Sale of WVS

Aggregated professional / legal fees beyond retainers pursuant to MOR-4

Revised 07/01/98

 
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CASE NAME:
CASE NUMBER: 20-30968

Watson Valve Services, LLC

 

MONTH

MONTH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASH RECEIPTS AND MONTH MONTH MONTH MONTH FILING TO
DISBURSEMENTS Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020 DATE
1. CASH-BEGINNING OF MONTH $949,195.09 $909,604.12 | $1,931,520.63 | $1,961,031.58 | $1,766,832.90 | $1,403,100.34 $949,195.09
RECEIPTS: : :
2. CASH SALES 0.00
3. COLLECTION OF ACCOUNTS RECEIVABLE 83,983.00 913,342.79 258,014.76 124,197.36 338,201.67 129,599.32 1,847,338.90
4. LOANS & ADVANCES (attach list) 0.00
5. SALE OF ASSETS 4,995,000.00} — 4,995,000.00
6. CONTRIBUTIONS 0.00
7. OTHER (Insurance Payment) 225,000.00 225,000.00
TOTAL RECEIPTS** 83,983.00 1,138,342.79 258,014.76 124,197.36 338.201.67| 5,124,599,32] —7.067,338.90
(Withdrawal) Contribution by Individual Debtor MER-2* 0.00
DISBURSEMENTS: - :
Ja. NET PAYROLL 15,500.00 20,833.34 11,791.01 48,124.35
7b. INSIDER COMPENSATION 31,662.16 31,665.02 31,665,02 21,665.94 5,833.43 0.00 122,491.57
8. PAYROLL TAXES PAID 0.00
9. SALES, USE & OTHER TAXES PAID 0.00
10, SECURED/RENTAL/LEASES 0.00
11. UTILITIES & TELEPHONE 0.00
12. INSURANCE 12,043.80 1,265.00 22,822.60 12,043.00 12,043.00 1,265.00 61,482.40
13. INVENTORY PURCHASES 0.00
14. VEHICLE EXPENSES 0.00
15, TRAVEL & ENTERTAINMENT 0,00
16, REPAIRS, MAINTENANCE & SUPPLIES 2,627.09 417.01 357.66 395.22 3,796.98
17. ADMINISTRATIVE & SELLING 77,240.92 83.079.25 109,011.21 167,323.03 78,594.55 146,897.11 662,146.07
18. PROFESSIONAL FEES
19. LEGAL FEES
20. OTHER (attach list) FN2 515,494.12 138,108.59 653,602.71
TOTAL DISBURSEMENTS FROM OPERATIONS 123,573.97 116,426.28 163,856.49 216,927.19 632,798.44 298,061.71 1,551,644.08
19. PROFESSIONAL FEES 64,647.32 99,518.85 69,135.79 233,301.96
20. U.S. TRUSTEE FEES 1,950.00 1,950.00
21. OTHER REORGANIZATION EXPENSES (attach list) 0.00
TOTAL DISBURSEMENTS** 123,573.97 116,426.28 228,503.81 318,396.04 701,934.23 298,061.71 1.786.896.04
22. NET CASH FLOW -39,590.97 1,021,916.51 29,510.95 - 194,198.68 -363,732.56|  4,826,537.61 5.280,442.86
23, CASH - END OF MONTH (MOR.2) FN4 $909,604.12 | $1,931,520.63 | $1,961,031.58 | $1,766,832.90 | $1,403,100.34 | $6,229,637.95 | $6,229.637.95

 

 

 

 

 

 

 

 

 

MOR-7

FNi

* Applies to Individual debtors only
**Numbers for the current month should balance (maich)
RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8

$572,241.86 related to AMUR HMP, LLC (Russia) Project

Revised 07 0198
 

CASE NAME:
CASE NUMBER: 20-30968

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Watson Valve Services, LLC

CASH ACCOUNT RECONCILIATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH OF July 2020
BANK NAME Texas Capital Bank Texas Capital Bank Texas Capital Bank Compass Bank
ACCOUNT NUMBER Acct Ending 0552 Acct Ending 4882 Acct Ending 4874 Acet Ending 6583
PT HUAYUE NICKEL
COBALT (CHINA) AMUR HMP, LLC

ACCOUNT TYPE OPERATING PROJECT (RUSSIA) PROJECT OPERATING TOTAL
BANK BALANCE 6,231,292.65 0.00 0.00 0.00 6,23 1,292.65
DEPOSITS IN TRANSIT 0.00 0.00 0.00 0.00 0.00
OUTSTANDING CHECKS 1,654.70 0.00 0.00 0.00 1,654.70
ADJUSTED BANK BALANCE $6,229,637.95 $0.00 $0.00 $0.00 $6,229,637.95
BEGINNING CASH « PER BOOKS 932,754.65 243,141.59 0.00 227,204.10 1,403,100.34
RECEIPTS* 5,124,599 32 0.00 0.00 0.00 5,124,599.32
TRANSFERS BETWEEN ACCOUNTS 470,305.79 -243,141.59 0.00 -227,164.20 0.00
(WITHDRAWAL) OR CONTRIBUTION BY

| INDIVIDUAL DEBTOR MFR-2 0.00 0.00 0.00 0.00 0.00
CHECKS/OTHER DISBURSEMENTS#* FN; 298,021.81 0.00 0.00 39.90 298,061.71
ENDING CASH - PER BOOKS FNi $6,229,637.95 $0.00 $0.00 $0.00 $6,229,637.95

 

MOR-8

FN4
FN2

“Numbers should balanee (match) TOTAL RECEIPTS an Revised 07 01:98
TOTAL DISBURSEMENTS lines on MOR-7

$572,241.86: related to AMUR HMP, LLC (Russia) Project
$515,494.12: received on behalf of Watson Grinding and transferred to their account in June.

 
CASE NAME:
CASE NUMBER: 20-30968

Watson Valve Services, LLC

PAYMENTS TO INSIDERS AND PROFESSIONALS

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Of the total disbursemerits shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptey Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Aitach additional pages as necessary).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH MONTH MONTH MONTH MONTH MONTH
INSIDERS: NAME/COMP. TYPE
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020
1. John Watson 11,665.32 11,666.86 11,666.86 11,666.86 5,833.43 0.00
2. Robert White 9,998.42 9,999.22 9,999.22 4,999.47 0.00 0.00
3. Jason White 9,998.42 9,998.94 9,998.94 4,999.61 0.00 0.00
4.
2:
6.
TOTAL INSIDERS (MOR-1) $31,662.16 $31,665.02 $31,665.02 $21,665.94 $5,833.43 $0.00
MONTH MONTH MONTH MONTH MONTH MONTH
PROFESSIONALS
Feb 2020 Mar 2020 Apr 2020 May 2020 June 2020 July 2020
1. McDowell Hetherington LLP 0.00 0.00 64,647.32 0.00]. 51,051.79 0.00
2. MACCO Restructuring Group 0.00 0.00 0.00 99,518.85 18,084.00 0.00
3.
4
5.
6.
TOTAL PROFESSIONALS (MOR-1) $0.00 $0.00 $64,647.32 $99,518.85 $69,135.79 $0.00

 

MOR-9

Revised 07/01/98

 
